                          Case 3:24-bk-00496-BAJ              Doc 127     Filed 06/13/24     Page 1 of 2
[Dntchrg] [District Notice of Hearing (Reaf)]
                                                UNITED STATES BANKRUPTCY COURT
                                                   MIDDLE DISTRICT OF FLORIDA
                                                     JACKSONVILLE DIVISION



In re:                                                                             Case Number:
                                                                                   3:24−bk−00496−BAJ
                                                                                   Chapter 11

Genie Investments NV Inc.




                          Debtor*                        /

                                                         NOTICE OF HEARING


           PLEASE TAKE NOTICE:

           1. The Honorable Jason A. Burgess will conduct a non−evidentiary hearing on July 23, 2024 at
           10:00 AM in Courtroom 4A, 4th Floor, Bryan Simpson United States Courthouse, 300 North
           Hogan Street, Jacksonville, FL 32202 to consider the following:

                                                Motion for Protective Order (construed as)


           2. All parties may attend the hearing in person. Parties are directed to consult the Procedures
           Governing Court Appearances regarding the Court's policies and procedures for attendance at
           hearings by Zoom, available at https://www.flmb.uscourts.gov/judges/burgess/.

           3. A party that opposes the relief sought in the matter to be heard must appear at the hearing;
           otherwise, any objection or defense may be deemed waived.
           4. The Court may continue this matter upon announcement made in open court and reflected on the
           docket without further written notice.

           Avoid delays at Courthouse security checkpoints. You must show a photo I.D. to enter the
           Courthouse. Except in the Orlando Courthouse, you may not bring a cell phone or a computer into
           the Courthouse unless you are an attorney with a valid Florida Bar identification card or a pro hac
           vice order, or the presiding judge has entered a specific order authorizing you to bring your cell
           phone or computer into the Courthouse. See Rule 7.02 of the Local Rules of the United States District
           Court for the Middle District of Florida and Rule 5073−1 of this Court's Local Rules.

           Dated June 13, 2024

                                                                                                     FOR THE COURT
                                                                                                       Sheryl L. Loesch,
                                                                                                           Clerk of Court
                                                                                  Bryan Simpson United States Courthouse
                                                                                                 300 North Hogan Street
                                                                                                             Suite 3−150
                                                                                                 Jacksonville, FL 32202
               Case 3:24-bk-00496-BAJ                             Doc 127              Filed 06/13/24           Page 2 of 2
*All references to "Debtor" include and refer to both the debtors in a case filed jointly by two individuals.
The Clerk's office is directed to serve a copy of this Notice on interested parties.
